Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 1 of 27 PageID #: 13361




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 10X GENOMICS, INC. and                   )
 PROGNOSYS BIOSCIENCES, INC.,             )
                                          )
              Plaintiffs,                 )
                                          )
              vs.                         )      Civil Action No. 21-cv-653-MFK
                                          )
 NANOSTRING                               )
 TECHNOLOGIES, INC.,                      )
                                          )
              Defendant.                  )


                        MEMORANDUM OPINION AND ORDER

 MATTHEW F. KENNELLY, District Judge:

       10x Genomics, Inc. and Prognosys Biosciences, Inc. (collectively, 10x) have

 sued NanoString Technologies, Inc. for patent infringement. 10x contends that

 NanoString's GeoMx Digital Spatial Profiler infringes numerous claims of eight of its

 patents: United States Patent Nos. 10,472,669 (the '669 patent); 10,662,467 (the '467

 patent); 10,961,566 (the '566 patent); 10,983,113 (the '113 patent); 10,996,219 (the '219

 patent); 11,001,878 (the '878 patent); 11,008,607 (the '607 patent); and 11,293,917 (the

 '917 patent). In February 2023, the Court issued a claim construction order construing

 seven disputed claim terms. See 10x Genomics, Inc. v. NanoString Techs., Inc., No.

 21-CV-653-MFK, 2023 WL 2265744 (D. Del. Feb. 28, 2023).

       10x has now moved for summary judgment on NanoString's defense of invalidity

 for indefiniteness, and NanoString has filed a cross-motion for summary judgment in its

 favor on that same indefiniteness defense and also for summary judgment of invalidity

 for failure to meet the Patent Act's written description requirement. For the reasons
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 2 of 27 PageID #: 13362




 stated below, the Court grants 10x's summary judgment motion regarding NanoString's

 indefiniteness defense and denies NanoString's summary judgment motion. Both

 parties have also filed motions to exclude certain testimony of their opponents' expert

 witnesses. The Court denies these motions as explained below.

                                          Background

        The Court assumes familiarity with this case's factual and procedural

 background, which this Court discussed in its prior written opinion. See 10x Genomics,

 2023 WL 2265744, at *1–2. The following background is taken from the Court's claim

 construction order and the parties' briefing.

        10x and NanoString are biotechnology companies that offer tools for studying

 genetic material on a cellular level. 10x's product is called Visium, and NanoString's

 product that 10x alleges infringes its patents is called GeoMX Digital Spatial Profiler.

 The asserted patents share a common specification.1 The specification describes the

 invention as "relat[ing] to assays of biological molecules, and more particularly to

 assays for determining spatial distributions of a large number of biological molecules in

 a solid sample simultaneously." '917 Patent at 1:28–31. In other words, "[t]he invention

 encompasses assay systems that provide high-resolution spatial maps of biological

 activity in tissues." Id. at 2:26–27. Spatial maps help scientists understand the biology

 of the tissue. They are therefore commonly used in oncology, immunology, and

 neurology to identify genes and observe changes in gene expression.

        On February 28, 2023, the Court issued an order construing seven claim terms of




 1 Because the asserted patents share a common specification, the Court follows the

 parties' suit in citing only to the '917 patent.
                                                    2
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 3 of 27 PageID #: 13363




 the asserted patents. During claim construction, NanoString contended that several of

 the claim terms should be construed to include the limitations "on the tissue sample"

 and "in a spatial pattern." See 10x Genomics, 2023 WL 2265744, at *3–6. The Court

 declined to adopt NanoString's proposed constructions, holding instead that the

 disputed claim terms did not require construction beyond their plain and ordinary

 meaning. See id.

        NanoString has now moved for partial summary judgment, contending that

 without a limitation regarding spatial patterning, the claims fail the written description

 requirement. NanoString also moves to exclude the opinion of 10x's validity expert, Dr.

 Rahul Satija. The parties have filed cross-motions for summary judgment regarding

 NanoString's defense that claim 1 of the '917 patent is invalid for indefiniteness. Lastly,

 the parties have both filed motions to exclude certain opinions of their opponent's

 damages experts.

                                         Discussion

        Summary judgment is appropriate if the moving party "shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a

 matter of law." Fed. R. Civ. P. 56(a). Because the parties have filed cross-motions for

 summary judgment, the Court "view[s] the facts contained in each motion in the light

 most favorable to the nonmoving party." Columbia Gas Transmission, LLC v. 1.01

 Acres, 768 F.3d 300, 309 (3d Cir. 2014).

 A.     Indefiniteness

        Section 112 requires "that a patent specification 'conclude with one or more

 claims particularly pointing out and distinctly claiming the subject matter which the



                                               3
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 4 of 27 PageID #: 13364




 applicant regards as the invention." Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S.

 898, 901 (2014) (alteration accepted) (quoting 35 U.S.C. § 112, ¶ 2 (2006)). 2 This

 provision "require[s] that a patent's claims, viewed in light of the specification and

 prosecution history, inform those skilled in the art about the scope of the invention with

 reasonable certainty." Id. at 910. NanoString contends that claim 1 of the '917 patent is

 indefinite because it recites "both a system and the method for using that system."

 Def.'s Combined Opening and Resp. Br. at 26 (quoting IPXL Holdings, L.L.C. v.

 Amazon.com, Inc., 430 F.3d 1377, 1384 (Fed. Cir. 2005)). 10x contends that claim 1 "is

 drafted entirely" as a "system" claim. Pls.' Opening Br. at 2. NanoString does not

 dispute 10x's contention that this issue "is a question of law." MasterMine Software,

 Inc. v. Microsoft Corp., 874 F.3d 1307, 1313 (Fed. Cir. 2017).

        "[M]ethod claims require the performance of steps; claims that describe physical

 components of a whole are system, or apparatus, claims." Jazz Pharms., Inc. v. Avadel

 CNS Pharms., LLC, 60 F.4th 1373, 1379 (Fed. Cir. 2023). The Federal Circuit "ha[s]

 held that a single claim covering both an apparatus and a method of use of that

 apparatus fails to meet the requirements of § 112 because it is unclear whether

 infringement occurs when one creates an infringing system, or whether infringement

 occurs when the user actually uses the system in an infringing manner."

 UltimatePointer, L.L.C. v. Nintendo Co., 816 F.3d 816, 826 (Fed. Cir. 2016) (alterations

 accepted) (internal quotation marks omitted); see also In re Katz Interactive Call




 2 "Paragraph 2 of 35 U.S.C. § 112 was replaced with newly designated § 112(b) . . . on

 September 16, 2012." Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1370 (Fed.
 Cir. 2014). "Because the applications resulting in the patents at issue in this case were
 filed before that date, [the Court] will refer to the [prior] version of § 112." Id.
                                               4
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 5 of 27 PageID #: 13365




 Processing Pat. Litig., 639 F.3d 1303, 1318 (Fed. Cir. 2011) ("Katz's claims . . . create

 confusion as to when direct infringement occurs because they are directed both to

 systems and to actions performed by 'individual callers.'"). But "apparatus claims are

 not necessarily indefinite for using functional language." UltimatePointer, 816 F.3d at

 826 (internal quotation marks omitted). A claim is not indefinite if it "is clearly limited to

 an apparatus possessing the recited structure and capable of performing the recited

 functions." Id. (internal quotation marks omitted); see also Jazz Pharms., 60 F.4th at

 1380 ("[T]he inclusion of active verbs and other functional language describing the

 capabilities of a claimed system does not transform a system claim into a method

 claim.").

        Claim 1 of the '917 patent recites:

        A system for analyzing a target biological molecule of a tissue sample
        . . . , the system comprising:
        ...
        a processing circuit arrangement connected to the imager and comprising
        software;
        ...
        wherein the software comprises instructions configured to cause the
        processing circuit arrangement to:

        display an image of the tissue sample obtained by the imager on the
        visual display and obtain information about a region of interest in the
        tissue sample based on the image of the tissue sample, wherein the
        region of interest is less than the entire tissue sample; and

        control the reagent delivery system to remove a portion of the tissue
        sample from the region of interest and deliver the removed portion of the
        tissue sample through the [sic] at least one reagent channel to a location
        external to the tissue sample,

        wherein the removed portion of the tissue sample comprises an
        oligonucleotide of one of the plurality of probes in the tissue sample; and

        wherein the location external to the tissue sample is a well in a substrate,
        and wherein the well is associated with the region of interest.

                                                5
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 6 of 27 PageID #: 13366




 '917 Patent at 32:65–33:32.

        NanoString contends that the phrase "wherein the removed portion of the tissue

 sample comprises an oligonucleotide" is a "method step result that is untethered to any

 structural capability." Def.'s Combined Opening and Resp. Br. at 27 (quoting '917

 Patent at 32:27–29). The Court disagrees. The claim language indicates that this is not

 a separate step, but rather a clause describing an example of the kind of tissue sample

 that the software is configured to remove. In other words, the clause NanoString points

 to "does not appear in isolation, but rather, is specifically tied to structure." MasterMine,

 874 F.3d at 1316.

        NanoString relies on IPXL Holdings and Katz for the proposition that claim 1 is

 indefinite, but both cases are inapposite. "[T]he claims in IPXL Holdings ('the user uses

 the input means') and Katz ('said individual callers digitally enter data') focus[ed] on

 specific actions performed by the user." MasterMine, 874 F.3d at 1316. The Federal

 Circuit has distinguished IPXL Holdings and Katz, where, as here, "the claims [ ] do not

 claim activities performed by the user." Id. There is therefore no uncertainty regarding

 when infringement occurs. "Because the claims merely use permissible functional

 language to describe the capabilities of the claimed system, it is clear that infringement

 occurs when one makes, uses, offers to sell, or sells the claimed system." Id.

        The prosecution history supports the Court's conclusion. During prosecution, the

 examiner initially rejected the claims for indefiniteness. In response, the patent

 applicant noted that an "[a]greement was reached during [an] interview" with the

 examiner that "the identified features are regarded as intended use, not as features that

 affect the scope of the claims." Dkt. no. 227-7 at 8. "To further emphasize this

                                               6
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 7 of 27 PageID #: 13367




 interpretation," the applicant amended the claim "to separate the features identified" by

 the examiner "from the main body" of the claim. Id.

        NanoString contends that the prosecution history supports its position because

 the applicant subsequently used the functional elements to distinguish prior art. This

 contention lacks merit. First, the applicant's statements that NanoString points to are

 not related to the "wherein the removed portion of the tissue sample comprises an

 oligonucleotide" clause that it contends makes the claim indefinite. Rather, the

 applicant pointed to the "control the reagent delivery system to remove a portion of the

 tissue sample" element of the claim, explaining that the prior art described "cell

 dispensing," which "does not involve removing a portion of a cell." Id. at 11. Second,

 the applicant expressly stated that the prior art was distinguishable because it did "not

 include software instructions 'configured to cause the processing circuit arrangement to

 . . . control the reagent delivery system to remove a portion of the tissue sample from

 the region of interest' as required by" the claim. Id. (emphasis added) (alteration in

 original). This is consistent with the Court's holding that the claim is entirely a system

 claim that is capable of performing certain functions.

        In short, claim 1 of the '917 patent "inform[s] those skilled in the art about the

 scope of the invention with reasonable certainty." MasterMine, 874 F.3d at 1316. The

 Court therefore grants 10x's summary judgment motion that the claim is not indefinite as

 a matter of law.

        10x also moved for summary judgment of no indefiniteness for five other terms

 contained in the asserted patents. See Pls.' Opening Br. at 5–7. NanoString responded

 only in a footnote in which it asserted that 10x's briefing "is conclusory and falls far short



                                               7
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 8 of 27 PageID #: 13368




 of establishing that there are no genuine issues to warrant summary judgment of no

 indefiniteness." Def.'s Combined Opening and Resp. Br. at 26 n.8. NanoString's

 perfunctory response to 10x's motion amounts to forfeiture. See John Wyeth & Bro. Ltd.

 v. CIGNA Int'l Corp., 119 F.3d 1070, 1076 n.6 (3d Cir. 1997) ("[A]rguments raised in

 passing (such as, in a footnote), but not squarely argued, are considered waived.");

 Brown v. Johnson, 116 F. App'x 342, 346 (3d Cir. 2004) ("[I]t is a well-settled rule that a

 party opposing a summary judgment motion must inform the trial judge of the reasons,

 legal or factual, why summary judgment should not be entered." (quoting Liberles v.

 County of Cook, 709 F.2d 1122, 1126 (7th Cir.1983))). Because 10x has sufficiently

 explained why summary judgment of no indefiniteness is proper for each term given the

 undisputed facts, the Court grants 10x's motion regarding these terms as well.

 B.     Written description

        Section 112 also "contains a written description requirement." Ariad Pharms.,

 Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc). "To satisfy the

 written description requirement, a patent's specification must 'reasonably convey to

 those skilled in the art that the inventor had possession of the claimed subject matter as

 of the filing date.'" Novartis Pharms. Corp. v. Accord Healthcare, Inc., 38 F.4th 1013,

 1016 (Fed. Cir. 2022) (alteration accepted) (quoting Ariad, 598 F.3d at 1351), cert.

 denied sub nom. Novartis Pharms. Corp. v. HEC Pharm Co., 143 S. Ct. 1748 (2023).

 "Whether a claim satisfies the written description requirement is a question of fact," id.

 (internal quotation marks omitted), and the "analysis is highly dependent on the facts of

 each case." Biogen Int'l GMBH v. Mylan Pharms. Inc., 18 F.4th 1333, 1342 (Fed. Cir.

 2021), cert. denied, 143 S. Ct. 112 (2022). "Inadequate written description must be



                                              8
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 9 of 27 PageID #: 13369




 shown by clear and convincing evidence." Novartis, 38 F.4th at 1016.

        NanoString contends that the asserted patents fail to satisfy the written

 description requirement because "the specification emphasize[s] the criticality of spatial

 patterning and teaches that this is essential, [but] nothing in the claims as construed

 refers to or imposes such a requirement." Def.'s Combined Opening and Resp. Br. at 4.

 NanoString asserts that "spatial patterning involves application of reagents to the

 sample as an input to the process so as to encode spatial location information within the

 sample." Id. at 1. NanoString's contention is, in essence, an attempt to rehash

 arguments that the Court rejected during claim construction.

        During claim construction, NanoString proposed construing most of the claim

 terms to require encoding location information on the tissue in accordance with a known

 spatial pattern. The Court rejected NanoString's proposed constructions, reasoning that

 they were "too narrow" and would improperly "read certain embodiments out of the

 patent," including "other methods and technologies for delivering probes with and

 without a pattern." 10x Genomics, 2023 WL 2265744, at *3. The Court explained that

 the specification describes other options to encode or retain location information,

 including removing reagents in a targeted way to preserve location information. See

 '917 Patent at 16:41-45 ("[I]t may be preferred to segment or sequester certain areas of

 the biological samples into one or more assay areas for different reagent distributions

 and/or biological target determination. The assay areas may be physically separated

 using barriers or channels."), 24:38–44 ("For several applications, it may be preferred to

 arrange the substrates into segments of one or more measurement areas for reagent

 distribution and agent determination. These regions may be physically separated using



                                              9
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 10 of 27 PageID #: 13370




 barriers or channels."). The Court further noted that the claim term "generating" does

 not necessarily occur "on the tissue" because several embodiments described in the

 specification encoded location information off tissue. Id. at *6 ("The patents teach that

 'generating' may be accomplished by adding oligonucleotide 'tags' to probes that have

 been transformed by cleavage, by PCR amplification (which occurs off the tissue), or

 with sequencing adapters.").

        NanoString contends that the Court's statements regarding alternative

 embodiments described by the specification "were incorrect" and that, "with the benefit

 of a complete record, the Court should take a fresh look at the disclosure." Def.'s Reply

 Br. at 1–2. But the summary judgment record does not persuade the Court that its

 statements in its claim construction order were incorrect. Rather, 10x's expert, Dr.

 Rahul Satija,3 opines that one skilled in the art would understand that the specification

 describes "techniques, technologies, and methods to associate spatial identity with

 target molecules without performing targeted delivery in a spatial pattern of probes or

 oligonucleotides to the tissue sample." Dkt. no. 241-2 ¶ 82.

        For example, referring to the specification at 16:41–45 and 24:38–44, Dr. Satija

 explains that "the specification describes the use of 'barriers or channels' to define

 regions for performing spatial assays," which "enables the preservation of spatial

 (segment) information when probe reagents are delivered indiscriminately." Id. ¶ 84.

 He also opines that a person skilled in the art would understand from the specification

 "a way to add tags after collection from segmented areas to preserve and track location

 information" through "sample multiplexing, which is a common step in a [next-



 3 NanoString's motion to exclude Dr. Satija's opinions is addressed below.


                                             10
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 11 of 27 PageID #: 13371




 generation sequencing] workflow." Id. ¶ 94; see also '917 Patent at 19:8–38 ("In one

 particularly preferred aspect, the resulting coding tags according to the assay system

 are substrates for high-throughput, next-generation sequencing, and highly parallel

 next-generation sequencing methods are used to confirm the sequence of the coding

 tags . . . ."). He further opines that "numerous disclosures throughout the patent [ ]

 teach encoding spatial location via tags." Id. ¶ 92 (citing '917 Patent at 10:11–33, 13:1–

 14, 14:6–14, 14:61–15:3, 19:16–38, 23:53–63, 25:52–26:11).

        NanoString contests Dr. Satija's interpretation of the specification. It contends

 that the specification does not sufficiently disclose these alternative embodiments and

 that Dr. Satija is improperly "speculat[ing] as to modifications that the inventor might

 have envisioned." Def.'s Combined Opening and Resp. Br. at 9 (quoting Lockwood v.

 Am. Airlines, Inc., 107 F.3d 1565, 1572 (Fed. Cir. 1997)); see also Rivera v. Int'l Trade

 Comm'n, 857 F.3d 1315, 1322 (Fed. Cir. 2017) ("The knowledge of ordinary artisans

 may be used to inform what is actually in the specification, but not to teach limitations

 that are not in the specification, even if those limitations would be rendered obvious by

 the disclosure in the specification.") (citation omitted). In Lockwood and Rivera,

 however, the Federal Circuit held that summary judgment was not precluded where it

 was undisputed that certain claimed features were not disclosed, but an expert opined

 that the features were obvious from the disclosures. The Federal Circuit has

 distinguished those cases where, as here, "the specification at least mentions" the

 alternative embodiments. Centrak, Inc. v. Sonitor Techs., Inc., 915 F.3d 1360, 1367

 (Fed. Cir. 2019). Rather than attempting to "supplement the teaching in the

 specification" using his "background knowledge," Rivera, 857 F.3d at 1322, Dr. Satija



                                              11
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 12 of 27 PageID #: 13372




 opines "that a skilled artisan would recognize from reading the specification, including

 all disclosures, that [the inventor] possessed the full scope of the claimed inventions as

 of April 5, 2011." Dkt. no. 241-2 ¶ 78 (emphasis added).

        As explained above, the specification contains discussions of several techniques

 to encode and/or retain spatial information. Dr. Satija's opinion that a person skilled in

 the art would understand these discussions to disclose the full scope of the claims "at

 least raises a genuine issue of material fact." Vasudevan Software, Inc. v.

 MicroStrategy, Inc., 782 F.3d 671, 683 (Fed. Cir. 2015). As in Centrak, the question of

 "the level of detail" the specification "must contain . . . to adequately convey to a skilled

 artisan that the inventor[] possessed" these alternative embodiments is a disputed

 factual issue. Centrak, 915 F.3d at 1367. Thus, NanoString is not entitled to summary

 judgment on invalidity for lack of written description.

        NanoString's contention that "spatial patterning is central to the 'invention,'" Def.'s

 Combined Opening and Resp. Br. at 2, does not alter the Court's conclusion. First,

 NanoString emphasizes the Court's statement in its claim construction order that the

 "claims and the shared specification thus indicate that spatial patterning must occur

 somewhere in the process and with some form of reagent." Def.'s Combined Opening

 and Resp. Br. at 1 (emphasis omitted) (quoting 10x Genomics, 2023 WL 2265744, at

 *4). But 10x contends that "spatial patterning" is broader than NanoString asserts,

 including not just delivery of reagents according to a spatial pattern, but also "methods,

 technologies, and techniques for spatial patterning through targeted removal and

 encoding off tissue." Pls.' Combined Resp. and Reply Br. at 4. Thus, the Court's prior

 statement that spatial patterning is required in some form does not necessarily suggest



                                               12
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 13 of 27 PageID #: 13373




 a mismatch between the claims and the specification as NanoString contends.

 NanoString also does not address the Court's other statement that "[w]hat is central to

 the patented system is its ability to ensure discrete delivery or retrieval," which,

 "[c]ontrary to NanoString's contentions," is "not necessarily the same as spatial

 patterning." 10x Genomics, 2023 WL 2265744, at *6.

        Moreover, although NanoString contends that its narrower interpretation of

 spatial patterning is described in the specification "[o]ver and over," Def.'s Combined

 Opening and Resp. Br. at 2, "a specification's focus on one particular embodiment or

 purpose cannot limit the described invention where that specification expressly

 contemplates other embodiments or purposes." Centrak, 915 F.3d at 1366 (internal

 quotation marks omitted); see also Cooper Cameron Corp. v. Kvaerner Oilfield Prods.,

 Inc., 291 F.3d 1317, 1322 (Fed. Cir. 2002) ("Although the specification also describes

 an arrangement that may be claimed in another way . . . , and explains why the

 invention functions well when arranged accordingly, the specification is not limited to

 that particular description. An inventor is entitled to claim his invention in more than one

 way."). The fact that the specification described embodiments where spatial patterning

 occurred via targeted delivery "does not necessarily mean that the only described

 invention is" this form of spatial patterning. Scriptpro, LLC v. Innovation Assocs., Inc.,

 762 F.3d 1355, 1359 (Fed. Cir. 2014) ("A specification can adequately communicate to

 a skilled artisan that the patentee invented not just the combination of all identified

 features but combinations of only some of those features (subcombinations)—which

 may achieve stated purposes even without omitted features.").

        Lastly, in its reply brief, NanoString relies heavily on Lipocine Inc. v. Clarus



                                              13
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 14 of 27 PageID #: 13374




 Therapeutics, Inc., 541 F. Supp. 3d 435 (D. Del. 2021), for the proposition that summary

 judgment is warranted. But Lipocine is inapposite. In that case, the patent claims

 "cover[ed] any oral method using almost any formulation administered within [a] broad

 range of doses, followed by titration if needed, as long as the method works." Id. at

 462. The court explained that this "kind of functional claiming runs afoul of the written

 description requirement." Id. In this case, by contrast, NanoString does not contend

 that the patent claims describe the invention "in purely functional terms." Id. at 446 ("A

 description of an invention in purely functional terms has frequently been found

 inadequate to satisfy the written description requirement."); see also Ariad, 598 F.3d at

 1349 (noting that the written description "problem is especially acute" where a

 "functional claim [ ] simply claim[s] a desired result . . . without describing species that

 achieve that result").

 C.     Expert testimony

        Both parties have also filed Daubert motions to exclude certain testimony of their

 opponents' expert witnesses. NanoString has moved to exclude the written description

 opinions of 10x's validity expert, Dr. Satija, and the reasonable royalty opinions of 10x's

 damages expert, Ms. Julie Davis. 10x has moved to exclude the reasonable royalty

 opinions of NanoString's damages expert, Mr. Michael Lasinski. The Court addresses

 each motion in turn.

        To be admissible under Daubert, an expert's testimony must be helpful to the

 trier of fact and must "rest[] on a reliable foundation and [be] relevant to the task at

 hand." Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 597 (1992). Under Federal

 Rule of Evidence 702, expert testimony must meet three requirements to be admissible:



                                               14
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 15 of 27 PageID #: 13375




 (1) the witness must be qualified to give such testimony; (2) the testimony must be

 reliable; and (3) the testimony must be relevant and assist the trier of fact. See Fed. R.

 Evid. 702; Schneider ex rel. Est. of Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003)

 ("We have explained that Rule 702 embodies a trilogy of restrictions on expert

 testimony: qualification, reliability and fit.").

        1.      Dr. Rahul Satija

        First, NanoString moves to exclude Dr. Satija's opinion because his "written

 description theory [ ] substitutes speculation and alleged background knowledge for

 actual disclosure." Def.'s Reply Br. at 12. As explained above, NanoString's

 characterization of Dr. Satija's opinion is incorrect. Dr. Satija is not "teach[ing]

 limitations that are not in the specification" but rather is using his knowledge as an

 ordinary artisan "to inform what is actually in the specification." Rivera, 857 F.3d at

 1322. NanoString also asserts that Dr. Satija's opinion "reflect[s] mere theories about

 what 'could' potentially be accomplished," without citing to the specification. Def.'s

 Combined Opening and Resp. Br. at 15. But as described above, Dr. Satija does cite to

 the specification in opining that it fully discloses the claimed subject matter.

        Next, NanoString contends that Dr. Satija's opinion should be excluded because

 his opinion applied a priority date of April 2011 even though, as NanoString asserts, 10x

 had previously argued that the proper priority date is April 2010. This is not a basis to

 exclude Dr. Satija's opinion. First, 10x has previously stated during discovery that the

 priority date for the asserted patent claims is April 5, 2011. See Dkt. no. 241-4 at 18–

 23; dkt. no. 241-5 at 8. And this priority date was not contested by NanoString's




                                                 15
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 16 of 27 PageID #: 13376




 expert.4 In any event, the proper priority date can be argued at trial. See Ajinomoto Co.

 v. Int'l Trade Comm'n, 597 F.3d 1267, 1277 (Fed. Cir. 2010) ("A patentee may [ ] argue

 in the alternative for different priority dates at trial."). Thus, even if Dr. Satija relied on

 the incorrect priority date as NanoString argues, it would not be a basis to exclude his

 opinion. NanoString does not cite any authority to the contrary.

        Lastly, NanoString contends that Dr. Satija's opinion should be excluded because

 he relied "on confidential invention disclosure forms." Def.'s Combined Opening and

 Resp. Br. at 17. NanoString points to a paragraph of Dr. Satija's opinion in which he

 states that his "understanding is consistent with that of one of [the inventor]'s Invention

 Disclosures" because the disclosure "confirm[s] he was in possession of methods for

 encoding location off-tissue using [next-generation sequencing] indexing techniques."

 Dkt. no. 236-2 ¶ 99. But 10x contends that NanoString's expert first relied on the

 invention disclosures and that Dr. Satija's opinion will therefore rebut the testimony that

 NanoString intends to offer at trial. NanoString does not respond to this contention.

 Nor does NanoString cite any authority for the proposition that an expert's reliance on

 invention disclosures is grounds for exclusion.

        In sum, the Court declines NanoString's motion to exclude Dr. Satija's expert

 opinions.

        2.      Ms. Julie Davis

        NanoString also moves to exclude Ms. Davis's reasonable royalty rate opinions.

 "The reasonable royalty theory of damages . . . seeks to compensate the patentee not




 4 NanoString instead "contends that the patents lack written description entirely and are

 not entitled to any priority." Def.'s Reply Br. at 13 n.5.
                                                16
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 17 of 27 PageID #: 13377




 for lost sales caused by the infringement, but for its lost opportunity to obtain a

 reasonable royalty that the infringer would have been willing to pay if it had been barred

 from infringing." AstraZeneca AB v. Apotex Corp., 782 F.3d 1324, 1334 (Fed. Cir.

 2015). The "common approach" to calculate a reasonable royalty is "called the

 hypothetical negotiation" approach, which "attempts to ascertain the royalty upon which

 the parties would have agreed had they successfully negotiated an agreement just

 before infringement began." Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1324

 (Fed. Cir. 2009). Another approach is "the analytical method," which "focuses on the

 infringer's projections of profit for the infringing product." Id. NanoString seeks to

 exclude Ms. Davis's opinions regarding both approaches.

        First, Ms. Davis's hypothetical negotiation opinion relies on 10x's corporate

 acquisition of ReadCoor, a company developing in situ spatial sequencing technology.

 In 2016, ReadCoor entered into a license with Harvard for exclusive and non-exclusive

 patent rights at a rate ranging from two to four percent of sales and services income. In

 2020, 10x acquired ReadCoor for $407.4 million and became the successor in interest

 to the Harvard / ReadCoor license. As part of the acquisition, PricewaterhouseCoopers

 LLP (PwC) prepared a valuation of ReadCoor's intangible assets. PwC's report valued

 ReadCoor's "In situ in-process research & development technology" (IPR&D) at $393

 million. Dkt. no. 236-8 at 5–6. PwC explained that "[t]he IPR&D represents the

 collection of in situ instrumentation, chemistry, and associated support services that are

 being developed using ReadCoor's IP." Id. at 31. Ms. Davis opines that "since 10x

 recognized that the ReadCoor IPR&D had no 'alternative future use' or value to the

 company, the entire amount of the purchase price allocated to the ReadCoor IPR&D



                                              17
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 18 of 27 PageID #: 13378




 can be attributed to the ReadCoor portfolio of patents, akin to a lump sum paid upfront

 for the exclusive right to use the patents, including the Harvard patents." Dkt. no. 236-7

 at 56. Based on the estimated fair value and the discounted future revenues of the

 IPR&D, Ms. Davis calculates an "implied royalty rate" of 30%. Id. at 57. Ms. Davis then

 opines that "10x paid an implied royalty rate of no less than 15% specific to the

 comparable Harvard patent rights" based on "the technological importance of the patent

 families comparable to the patents-in-suit, the percentage of the comparable patents in

 the entire patent portfolio in terms of the number of issued U.S. patents, and [her]

 general understanding that patents subject to a non-exclusive license are accorded less

 value than patents in an exclusive license." Id. at 60.

        NanoString moves to exclude this opinion on various grounds. First, NanoString

 contends that the "ReadCoor acquisition is an unreliable starting point for determining a

 royalty rate for the patents-in-suit because the ReadCoor acquisition was a complex

 corporate acquisition that involved far more than a patent license." Def.'s Combined

 Opening and Resp. Br. at 21. But NanoString does not cite any authority for this

 proposition. 10x contends that the acquisition is relevant to the reasonable royalty rate

 because "[t]he primary rationale for the Transaction was for the acquisition of

 ReadCoor's foundational patents that [underlie] the IPR&D and protective rights they

 provided to 10x's intellectual property." Pls.' Combined Resp. and Reply Br. at 29

 (alterations in original) (quoting Dkt. no. 236-7 at 55).

        The Court agrees with 10x. "The amount paid to acquire a company with desired

 patents, and the amount of the acquisition amount allotted to a particular patent is

 relevant to the establishment of a reasonable royalty." Fresenius Med. Care Holding



                                               18
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 19 of 27 PageID #: 13379




 Inc. v. Baxter Int'l, Inc., 224 F.R.D. 644, 653 (N.D. Cal. 2004); see also Integra

 Lifesciences I, Ltd. v. Merck KGaA, 331 F.3d 860, 871 (Fed. Cir. 2003) (comparing the

 jury's reasonable royalty award with the purchase price of a corporate acquisition that

 included "all of its products, patents and know-how"), vacated on other grounds, 545

 U.S. 193 (2005); Limelight Networks, Inc. v. XO Commc'ns, LLC, No. 3:15-CV-720-JAG,

 2018 WL 678245, at *6 (E.D. Va. Feb. 2, 2018) ("To determine a reasonable royalty rate

 for a patented technology, a court may look to prior acquisition agreements and patent

 license agreements from cases involving sufficiently comparable technology."). Thus,

 the Court concludes that Ms. Davis's reliance on the ReadCoor acquisition is not a basis

 to exclude her reasonable royalty opinion.

        Next, NanoString contends that Ms. Davis improperly relied on the full IPR&D

 amount even though it included more than just patents. But Ms. Davis explains that she

 used the entire amount in her calculation because "the IPR&D 'did not have alternative

 future use and therefore was recognized as an expense.'" Dkt. no. 236-7 at 55–56. Her

 opinion notes that "[a]t the time of the acquisition, 10x 'believed that the instrument

 ReadCoor was developing . . . did not function as intended.'" Id. at 55. 10x therefore

 "d[id] not intend to further develop the protype product," but rather was "primarily

 focused on using ReadCoor's In Situ technology to incorporate into its In Situ product

 portfolio." Id. NanoString's objection to Ms. Davis's allocation of IPR&D to patents is a

 matter of weight that can be explored on cross-examination; it is not a basis to exclude

 her opinion. See ActiveVideo Networks, Inc. v. Verizon Commc'ns, Inc., 694 F.3d 1312,

 1333 (Fed. Cir. 2012) (holding that the parties' dispute over whether a license fee that

 covered both "patents and software services" was properly attributed to the asserted



                                              19
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 20 of 27 PageID #: 13380




 patents was a "factual issue[] best addressed by cross examination and not by

 exclusion").

        NanoString also argues that Ms. Davis's opinion should be excluded because

 she "ignore[d]" the royalty rates set by the underlying Harvard / ReadCoor license and

 the license between Prognosys and 10x, which NanoString contends are more

 comparable licenses. Def.'s Combined Opening and Resp. Br. at 22. "Assessing the

 comparability of licenses requires a consideration of whether the license at issue

 involves comparable technology, is economically comparable, and arises under

 comparable circumstances as the hypothetical negotiation." Bio-Rad Lab'ys, Inc. v. 10X

 Genomics Inc., 967 F.3d 1353, 1372–73 (Fed. Cir. 2020). Contrary to NanoString's

 assertion, Ms. Davis does not ignore either license. Rather, she considers both

 licenses but opines that the ReadCoor acquisition provides a better estimate of a

 reasonable royalty.5 See Dkt. no. 236-7 at 51 ("Though [the Prognosys] license would

 be considered technologically comparable to the hypothetical license since it covers the

 patents-in-suit, it would not be considered economically comparable."), 61 ("ReadCoor

 was considered a competitor of 10x. In contrast, the ReadCoor/Harvard agreement, of

 which 10x became successor in interest, was between an academic institution licensing

 a commercial partner (ReadCoor).") (footnote omitted). "[T]he degree of comparability

 of the license agreements is a factual issue best addressed by cross examination and




 5 Ms. Davis's opinion is therefore distinguishable from the expert testimony rejected in

 the case NanoString cites. See Def.'s Combined Opening and Resp. Br. at 23 (citing
 ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 870 (Fed. Cir. 2010)). In ResQNet, the
 expert "used licenses with no relationship to the claimed invention." ResQNet, 594 F.3d
 at 870. As explained above, the ReadCoor acquisition is related to a reasonable royalty
 for the asserted patents.
                                             20
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 21 of 27 PageID #: 13381




 not by exclusion." Bio-Rad, 967 F.3d at 1374 (alteration accepted) (internal quotation

 marks omitted); see also Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1227 (Fed.

 Cir. 2014) ("[T]he fact that a license is not perfectly analogous generally goes to the

 weight of the evidence, not its admissibility.").

        Lastly, NanoString contends that Ms. Davis uses unreliable methodology to halve

 the implied royalty rate, relying on Guardant Health, Inc. v. Foundation Medicine, Inc.,

 No. CV 17-1616-LPS-CJB, 2020 WL 2461551, at *18 (D. Del. May 7, 2020), report and

 recommendation adopted, No. CV 17-1616-LPS-CJB, 2020 WL 5994155 (D. Del. Oct.

 9, 2020). In Guardant Health, the court excluded an expert's opinion that a 50%

 apportionment rate was appropriate where the opinion was merely a "conservative"

 estimate based solely on the fact that "the patents were 'foundational' to the accused

 products." Id. In this case, by contrast, Ms. Davis opined that the comparable patents

 accounted for forty-eight percent of the patents in the Harvard / ReadCoor agreement

 and were "more technologically important than the other patent families in the exclusive

 license category, and significantly more important than the patent families in the non-

 exclusive category." Dkt. no. 236-7 at 60. Thus, contrary to NanoString's assertion,

 Ms. Davis's methodology consists of more than just dividing the rate in half based on a

 vague assertion that the patents are "foundational" or "raw patent counting." Def.'s

 Combined Opening and Resp. Br. at 23–24. Guardant Health is therefore inapposite.

        In sum, the Court denies NanoString's motion to exclude Ms. Davis's reasonable

 royalty opinion applying the hypothetical negotiation approach.

        NanoString also moves to exclude Ms. Davis's opinion applying the analytical

 approach. As noted above, "[t]he analytical method[] focuses on the infringer's



                                               21
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 22 of 27 PageID #: 13382




 projections of profit for the infringing product." Lucent Techs., 580 F.3d at 1324. This

 method "calculat[es] damages based on the infringer's own internal profit projections for

 the infringing item at the time the infringement began, and then apportion[s] the

 projected profits between the patent owner and the infringer." Id. (quoting John

 Skenyon et al., Patent Damages Law & Practice § 3:4, at 3–9 to 3–10 (2008)).

        NanoString contends that Ms. Davis's opinion should be excluded because her

 calculation uses gross profit margins, rather than net profits. NanoString cites TWM

 Manufacturing Co. v. Dura Corp., 789 F.2d 895, 899 (Fed. Cir.1986), for the proposition

 that net profits is specifically required. In TWM Manufacturing, the Federal Circuit

 described the "analytical approach" as "subtract[ing] the infringer's usual or acceptable

 net profit from its anticipated net profit realized from sales of infringing devices." Id. But

 the Federal Circuit did not hold that using net profits, as opposed to other profit figures,

 was required. As stated above, the Federal Circuit in Lucent summarized the approach

 without saying that particular type of profit margin was required. Ms. Davis explained in

 her reply report that she chose to use gross profit margins because "the research and

 development expenses for both nCounter and GeoMx had already been incurred by the

 date of the hypothetical negotiation." Dkt. no. 227-24 at 12. The Court concludes that

 Ms. Davis's use of gross profit margins does not render her methodology unreliable and

 is not a basis to exclude her opinion. See Eko Brands, LLC v. Adrian Rivera Maynez

 Enters., Inc., No. C15-522-JPD, 2018 WL 10687383, at *2, 5 (W.D. Wash. Mar. 28,

 2018) (holding that an expert's analytical method opinion using gross profit margins was

 "based on sufficient facts and evidence to be presented to the jury").

        Lastly, NanoString argues that Ms. Davis's opinion "fails to account for the



                                              22
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 23 of 27 PageID #: 13383




 substantial differences between the nCounter and GeoMx platforms and differences in

 their lifecycles." Def.'s Combined Opening and Resp. Br. at 26. But NanoString does

 not cite any authority for the proposition that this is a required step of the analytical

 approach nor explain what the purported "differences" are. As Ms. Davis explains,

 differences between the products may be attributable to the fact that the GeoMx product

 "is enabled by the patents-in-suit," "as compared to nCounter, which does not rely on

 this [ ] technology." Dkt. no. 227-24 at 11. The only case NanoString cites, Wonderland

 Switzerland AG v. Evenflo Co., 564 F. Supp. 3d 320, 341–42 (D. Del. 2021), relates to

 apportioning an expert's reasonable royalty rate calculated using the analytical

 approach to account for non-patented features. Because NanoString does not make an

 apportionment argument, this case is not relevant.6

        3.     Mr. Michael Lasinski

        10x moves to exclude Mr. Lasinski's reasonable royalty opinions. Mr. Lasinski

 calculates a reasonable royalty based on two licenses he opines are comparable to the

 asserted patents: the MGH license and the Prognosys license. 10x contends that his

 opinions on both licenses should be excluded.

         First, 10x argues that the MGH license is not sufficiently comparable. "In

 determining a reasonable royalty, parties frequently rely on comparable license

 agreements." Bio-Rad, 967 F.3d at 1372 (Fed. Cir. 2020). "The party proffering a

 license bears the burden of establishing it is sufficiently comparable to support a

 proposed damages award." Adasa Inc. v. Avery Dennison Corp., 55 F.4th 900, 915



 6 Although Wonderland Switzerland does discuss technologically comparable licenses,

 it does so in the context of the hypothetical negotiation approach. See Wonderland
 Switzerland, 564 F. Supp. 3d at 341.
                                               23
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 24 of 27 PageID #: 13384




 (Fed. Cir. 2022). As previously explained, "[a]ssessing the comparability of licenses

 requires a consideration of whether the license at issue involves comparable

 technology, is economically comparable, and arises under comparable circumstances

 as the hypothetical negotiation." Bio-Rad, 967 F.3d at 1372–73.

        In his opinion, Mr. Lasinski relies on the technological comparability opinion of

 another NanoString expert, Dr. Edwards. Contrary to 10x's assertion, this is not

 improper. See Carnegie Mellon Univ. v. Marvell Tech. Grp., Ltd., 807 F.3d 1283, 1303

 (Fed. Cir. 2015) ("Experts routinely rely upon other experts hired by the party they

 represent for expertise outside their field.") (internal quotation marks omitted). 10x

 further contends that Dr. Edwards' opinion is impermissibly based on hearsay because

 he explained during his deposition that he learned from someone at NanoString that its

 GeoMx product practices the MGH patents. But "Rule 703 permits experts to rely on

 hearsay so long as it is of the kind normally employed by experts in the field."

 Schuchardt v. President of United States, 802 F. App'x 69, 75 (3d Cir. 2020). 10x has

 not argued that the statements upon which Dr. Edwards relies are not reasonably relied

 upon by experts in his field. In any event, Dr. Edwards determined using his own

 technical expertise that the technology of the MGH patents is comparable to the

 asserted patents. See Dkt. no. 236-20 ¶ 140. 10x does not cite any authority for the

 proposition that NanoString must have practiced the MGH patents for them to be

 technologically comparable.

        10x contends that the MGH patents are not comparable because they are not

 directed to spatial detection, but rather "to one component used in one step of the

 GeoMx workflow." Pls.' Opening Br. at 10. Dr. Edwards disputes this assertion,



                                             24
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 25 of 27 PageID #: 13385




 contending that numerous features and techniques of the MGH patents overlap with the

 asserted patents. NanoString has thus made a sufficient "showing of 'baseline

 comparability,'" and the "degree of comparability is a factual issue best addressed

 through cross examination." Bio-Rad, 967 F.3d at 1374; see also ActiveVideo, 694 F.3d

 at 1333 ("The degree of comparability of the Gemstar and Grande license agreements

 . . . are factual issues best addressed by cross examination and not by exclusion."). 7

        Next, 10x contends that Mr. Lasinski's calculation of a reasonable royalty rate

 based on the Prognosys license should be excluded because his valuation methodology

 is unreliable. In exchange for a license to several patents, including the asserted

 patents, 10x agreed to pay Prognosys a lump sum amount, a running royalty based on

 net sales, and an amount based on stock shares. For purposes of the hypothetical

 negotiation, Mr. Lasinski converted these different components into a single running

 royalty. In doing so, he used projections of sales of 10x's Visium products. 10x

 contends that Mr. Lasinski's use of those projections, "while ignoring other projections

 and actual sales, render his methodology unreliable and unhelpful to a jury." Pls.'

 Opening Br. at 15.

        The Court disagrees. Even if using different projections or actual sales, as 10x

 suggests, would result in a more accurate calculation, that goes to the weight to be

 given to Mr. Lansinski's calculation, not its admissibility. See i4i Ltd. P'ship v. Microsoft



 7 In a footnote, 10x contends that "[t]he MGH license is also not economically

 comparable to the hypothetical license because it is between a collaborator and
 promoter and was entered into in a much different context than the hypothetical
 negotiation between competitors 10x and NanoString." Pls.' Opening Br. at 10 n.6. 10x
 has forfeited this argument by not developing it beyond this single sentence. See John
 Wyeth, 119 F.3d at 1076 n.6 ("[A]rguments raised in passing (such as, in a footnote), but
 not squarely argued, are considered waived.").
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Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 26 of 27 PageID #: 13386




 Corp., 598 F.3d 831, 856 (Fed. Cir. 2010) ("While the data were certainly imperfect, and

 more (or different) data might have resulted in a 'better' or more 'accurate' estimate in

 the absolute sense, it is not the district court's role under Daubert to evaluate the

 correctness of facts underlying an expert's testimony."), aff'd, 564 U.S. 91 (2011). 10x

 contends that Mr. Lasinski's opinion improperly "cherry-pick[s] a single projection and

 ignore[s] (without explanation) other, more accurate projections." Pls.' Combined Resp.

 and Reply Br. at 35. But 10x does not respond to NanoString's explanation that Mr.

 Lasinski simply used the projections 10x provided during discovery and that the

 "purportedly 'more' contemporaneous projection" 10x points to in its brief was not

 identified during discovery. Defs.' Combined Opening and Resp. Br. at 30 & n.10.

 10x's objections to the particular projections Mr. Lasinski used are therefore not a basis

 to exclude Mr. Lasinski's opinion.

        In sum, the Court denies 10x's motion to exclude Mr. Lasinski's reasonable

 royalty opinions.

                                         Conclusion

        For the foregoing reasons, the Court grants the plaintiffs' motion for summary

 judgment [dkt. no. 223] regarding indefiniteness and denies defendant's cross-motion

 for summary judgment [dkt. no. 231] regarding indefiniteness and lack of written

 description. The Court denies both parties' motions to exclude certain expert opinions

 [dkt. nos. 224, 232]. The case is set for a telephonic status hearing on September 12,

 2023 at 8:30 AM Central time (9:30 AM Eastern time) to discuss logistical and other

 issues relating to the upcoming jury trial as well as the possibility of settlement. The




                                              26
Case 1:21-cv-00653-MFK Document 255 Filed 09/07/23 Page 27 of 27 PageID #: 13387




 following call-in number will be used: 888-684-8852, access code 746-1053.



                                               ________________________________
                                                    MATTHEW F. KENNELLY
                                                    United States District Judge

 Date: September 7, 2023




                                          27
